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     EXHIBIT A
                      Index of Matters
     Case 4:21-cv-01173 Document 1-1 Filed on 04/09/21 in TXSD Page 2 of 26




                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN OF TEXAS
                                        HOUSTON DIVISION

 KIMA JOHNSON                        §
      Plaintiff,                     §
                                     §
 v.                                  §
                                     §                                       CIVIL ACTION NO. ___
 J.B. HUNT TRANSPORT SERVICES, INC., §                                      JURY TRIAL DEMANDED
 RYDER RENTAL TRUCK AND              §
 JOHN DOE                            §
        Defendants.                  §



     DEFENDANTS J.B. HUNT TRANSPORT SERVICES, INC. AND RYDER TRUCK
             RENTAL, INC.’S INDEX OF MATTERS BEING FILED


      Pursuant to Local Rule CV-81, Defendants J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL, INC. hereby attach this Index of Matters Being Filed to its Notice of
Removal.

        Exhibit 1:        All Executed Process

                          •    Executed Service of Process on Ryder Truck Rental, Inc. on March 17,
                               2021; and
                          •    Executed Service of Process on J.B. Hunt Transport Services, Inc. on
                               March 18, 2021.

        Exhibit 2:        All State Court Pleadings

                          •    Plaintiff’s Original Petition filed March 10, 2021;
                          •    Defendants J.B. Hunt Transport Services, Inc. and Ryder Truck Rental,
                               Inc.’s Original Answer filed April 9, 2021.

        Exhibit 3:        State Court Docket Sheet

        Exhibit 4:        List of all counsel of record, including addresses, telephone numbers and
                          parties represented




_________________________________________________________________________________________________________________
JOHNSON/JBH AND RYDER INDEX OF MATTERS BEING FILED                      P A G E |1
DOC #7593799 / 71677.00118
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      EXHIBIT 1
              Executed Returns of Service
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Case 4:21-cv-01173 Document 1-1 Filed on 04/09/21 in TXSD Page 7 of 26            3/19/2021 3:58 PM
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      EXHIBIT 2
                  State Court Pleadings
Case 4:21-cv-01173 Document 1-1 Filed on 04/09/21 in TXSD Page 10 of 26

                 2021-14042 / Court: 129




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                                   CAUSE NO. 2021-14042

KIMA JOHNSON                      §                              IN THE DISTRICT COURT OF
                                  §
      Plaintiffs,                 §
                                  §
vs.                               §
                                  §                                  HARRIS COUNTY, TEXAS
J.B. HUNT TRANSPORT SERVICES, §
INC., RYDER TRUCK RENTAL and JOHN §
DOE                               §
                                  §
      Defendants.                 §                                129th JUDICIAL DISTRICT


   DEFENDANTS J.B. HUNT TRANSPORT SERVICES, INC. AND RYDER TRUCK
                    RENTAL INC.’S ORIGINAL ANSWER

           I. SPECIAL EXCEPTION TO DISCOVERY IN PLAINTIFF’S PETITION

       Defendants J.B. HUNT TRANSPORT SERVICES, INC. and RYDER TRUCK RENTAL,

INC. (“Defendants”) specially except to the Requests for Disclosure in Plaintiff’s Original Petition

because, pursuant to Tex. R. Civ. P. 194.2(a) and 194.1 (changing request for disclosure to required

disclosures), requests for disclosure are no longer permissible discovery and discovery within a

petition are prohibited (i.e., are outside the permissible discovery period). Defendants request the

Court strike the discovery from Plaintiff’s Original Petition.


                                      II. GENERAL DENIAL

       1.   Defendants deny each and every, all and singular, material allegations contained

within Plaintiff’s pleadings and any amendments or supplements thereto and demands strict proof

thereof.


                      III. INFERENTIAL REBUTTAL INSTRUCTIONS




J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                1
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       2.        Defendants assert the following by way of inferential rebuttal and request the Court

instruct the jury as follows:

            a.     New and Independent Cause / Superseding Intervening Cause. The alleged
                   damages in question as alleged by Plaintiff were caused, in whole or in part, by an
                   act or omission of a separate and independent agency, not reasonably foreseeable
                   to any Defendant, that destroyed any causal connection between the alleged acts or
                   omissions of any Defendant and the injury complained of thus becoming an
                   intervening, superseding cause of the incident and/or alleged injuries.

            b.     Sole Proximate Cause. The act(s) or omission(s) of another person, including
                   Plaintiff or another entity was the sole cause of the damages alleged by Plaintiff.

            c.     Prior and/or Subsequent Injuries/Conditions. Plaintiff’s claims of physical
                   and/or mental ailments in this cause were, in whole or in part, proximately caused
                   solely and/or proximately by prior and/or subsequent accidents, events, or
                   occurrences. Also, Plaintiff’s claims of injuries and damages are the result in whole
                   or in part of pre-existing conditions, injuries, diseases, illnesses, and disabilities and
                   not the result of any act or omission on the part of the Defendant.


                                      IV. AFFIRMATIVE DEFENSES

       3.        By way of affirmative defense, pleading in the alternative and without waiving the

foregoing general denial:

            a.     Comparative Negligence-Responsibility. Plaintiff’s negligence was the sole, or
                   a partial, proximate cause of the accident and the injuries and damages alleged by
                   Plaintiff. Because of Plaintiff’s negligence, Plaintiff is barred, in whole or in part,
                   from a recovery of damages from Defendant. Also, pursuant to Ch. 33, Texas Civil
                   Practice and Remedies Code, Defendants invoke the doctrine of comparative
                   responsibility and, further, Defendants are entitled to an issue submitted to the jury
                   on the comparative responsibility of Plaintiff.




J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                         2
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          b.   Failure to Mitigate. Plaintiff failed, either in whole or in part, to mitigate damages
               as required under applicable law. Any damages sought to be recovered by Plaintiff
               should be reduced to the extent that Plaintiff has failed to take the reasonable steps
               that a person of ordinary prudence in the same or similar situation would have taken
               to avoid the damages claimed in this lawsuit.

          c.   Paid-or-Incurred Medical-Expense Limitation. Plaintiff’s recovery of medical
               or health care expenses be limited to the amount actually paid or incurred by or on
               behalf of Plaintiff, pursuant to § 41.0105 of the Tex. Civ. Prac. & Rem. Code.

          d.   Failure to Submit Medical Bills to Medical-Insurance Provider.             Plaintiff’s
               claims for medical expenses are barred by the provisions of § 146, et seq of the Tex.
               Civ. Prac. & Rem. Code, to the extent that Plaintiff is covered by medical insurance
               and medical providers have refused to submit the medical bills to the medical
               insurance provider. Tex. Civ. Prac. & Rem. Code § 146.003.

          e.   Credit/Offset. Defendants are entitled to credits or offsets for all monies or
               consideration paid to or on behalf of Plaintiff by virtue of any type or form of
               settlement agreement entered into by and between Plaintiff and any settling person,
               responsible third-party or any other person or entity not a party to this lawsuit.
               Defendants claim and are entitled to all lawful settlements, credits and offsets
               including but not limited to those set forth in Tex. Civ. Prac. & Rem. Code §33.012
               and §41.0105. Thus, Defendants assert the affirmative defenses of offset, credit,
               payment, release, and accord and satisfaction to the extent applicable as provided
               under Texas Rule of Civil Procedure 94.

          f.   Loss of Earnings / Loss of Earning Capacity—Post-Tax-Payments/Liability.
               Pursuant to Tex. Civ. Prac. & Rem. Code § 18.091, Plaintiff must prove Plaintiff’s
               alleged loss of earnings and/or loss of earning capacity in a form that represents
               their net loss after reduction for income tax payments or unpaid tax liability. Also,
               Defendants request the Court instruct the jury as to whether any recovery for
               compensatory damages sought by Plaintiff is subject to federal and state income
               taxes.


J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                 3
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          g.   Damages Bars and Limitations.          Plaintiff’s claims, if any, for exemplary,
               punitive, or other damages are barred, limited, restricted, and/or governed by the
               provisions of the Tex. Civ. Prac. & Rem. Code Ch. 41 and other applicable law.

          h.   Punitive-Damages Unconstitutionality. Defendants invoke Defendants’ rights
               under the Due Process Clause and Equal Protection Clause of the Fifth, Eighth (as
               it applies to the States through the Fourteenth Amendment), and Fourteenth
               Amendment of the United States Constitution. Punitive and/or exemplary damages
               is violative of the Fifth, Eighth, and Fourteenth Amendment inasmuch as punitive
               and/or exemplary damages can be assessed:

               (1)    in an amount left to the discretion of the jury and judge;
               (2)    in assessing such sums, the decision of the jury need only be based on a vote
                      of ten jurors and does not require a unanimous verdict;
               (3)    in assessing such penalty or exemplary awards, Plaintiff need/needs only
                      prove the theory of gross negligence on a clear-and-convincing-evidence
                      standard and not on a "beyond a reasonable doubt" standard, as should be
                      required in assessing a punishment award;
               (4)    also, Defendants who are subject to the award do not have the right to refuse
                      to testify against themselves, but must, in fact, take the stand and/or give
                      deposition testimony or subject themselves to the consequences of a default
                      judgment;
               (5)    the assessment of such a punishment and/or exemplary award is not based
                      on a clearly defined statutory enactment setting forth a specific mens rea
                      requirement and/or other prerequisites of a criminal fine and, in effect,
                      allows the assessment of such awards though there are no specific standards,
                      limits or other statutory requirements set forth which define the mens rea
                      and scope and limit of such awards. Therefore, the awards are unduly vague
                      and do not meet the requirements of due process;
               (6)    in essence, Defendants herein are subjected to all the hazards and risks of
                      what amounts to a fine and, in fact, such awards often exceed normal
                      criminal fines; but Defendants receive none of the basic rights afforded a
                      criminal defendant when being subjected to possible criminal penalties; and
               (7)    the assessment of punitive and/or exemplary damages differs from
                      Defendant to Defendant and treats similar Defendants in dissimilar ways.

                Thus, Defendants herein invoke Defendants’ rights under the Fifth, Eighth and
                Fourteenth Amendments of the United States Constitution and request this
                Court disallow the award of punitive and/or exemplary damages in as much as
J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                               4
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                 an award in this case would violate Defendants’ United States Constitutional
                 rights.

            i. Reservation of Rights. Defendants hereby gives notice Defendants intend to rely
               on such other defenses or denials, affirmative or otherwise, and to assert third-party
               claims and any other claims, as may become available or appear during discovery
               as it proceeds in this matter, and hereby reserve the right to amend their Answer to
               assert such defenses.

                                  V. TEX. R. CIV. P.193.7 NOTICE

       4.      Pursuant to Tex. R. Civ. P. 193.7, Defendants hereby give actual notice to Plaintiff

that any and all documents produced by Plaintiff may be used against Plaintiff at any pretrial

proceeding or at the trial of this matter without the necessity of authenticating the documents.


                      VI. TEXAS RULE OF EVIDENCE 609(f) REQUEST

       5.      Defendants request Plaintiff, pursuant to Texas Rules of Evidence 609(f), give

Defendants sufficient advanced written notice of Plaintiff’s intent to use evidence of a conviction

of a crime under Rule 609(f) against any party or witness in this case, with failure to do so resulting

in inadmissibility of the same.


                                       VII.    JURY DEMAND

       6.      Defendants demand a trial by jury and tender the applicable jury fee with their

Answer.




J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                   5
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                                 VIII.       RELIEF REQUESTED

       7.      Defendants J.B. HUNT TRANSPORT SERVICES, INC. and RYDER TRUCK

RENTAL, INC. pray that:

            a. Plaintiff take nothing by this lawsuit;

            b. Defendants go hence with their costs (i.e., their costs be taxed against Plaintiff)

               without delay; and

            c. for such other and further relief, both general and special, at law and in equity, to

               which Defendants may show themselves justly entitled.




                                              Respectfully submitted,

                                              MAYER LLP

                                              /s/ Kevin Riley
                                              Kevin P. Riley
                                              State Bar No. 16929100
                                              kriley@mayerllp.com
                                              Harry L. Laxton Jr.
                                              Southern District of Texas No. 906711
                                              Texas State Bar No. 12061762
                                              New York Registration No. 5447776
                                              hlaxton@mayerllp.com
                                              4400 Post Oak Parkway, Suite 1980
                                              Houston, Texas 77027
                                              Telephone: 713-487-2000
                                              Facsimile: 713-487-2019

                                              ATTORNEYS FOR DEFENDANTS
                                              J.B. HUNT TRANSPORT SERVICES, INC.
                                              AND RYDER TRUCK RENTAL, INC.




J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                6
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                                CERTIFICATE OF SERVICE

        On April 9, 2021, a true and correct copy of the foregoing has been forwarded to all counsel
of record as follows:

            Lauren Roberts                     ☐E-MAIL (hector@longorialaw.com)
    Texas State Bar No. 24113720               ☐HAND DELIVERY
    440 Louisiana St., Suite 1400
                                               ☐FACSIMILE
       Houston, Texas 77002
   Email: e-service@daspitlaw.com              ☐OVERNIGHT MAIL
                                               ☐REGULAR, FIRST CLASS MAIL
   ATTORNEY FOR PLAINTIFF                      ☒CM-ECF
                                               ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED




                                                      /s/ Kevin P. Riley
                                              Kevin P. Riley




J.B. HUNT TRANSPORT SERVICES, INC. AND
RYDER TRUCK RENTAL INC.’S ORIGINAL ANSWER: 7580357_1 (71677.00118)                                7
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       EXHIBIT 3
                 State Court Docket Sheet
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                                       Harris County Docket Sheet


2021-14042
COURT: 129th
FILED DATE: 3/10/2021
CASE TYPE: Motor Vehicle Accident

                                       JOHNSON, KIMA
                                      Attorney: DASPIT, JOHN A

                                                 vs.
                            J B HUNT TRANSPORT SERVICES INC


                                        Docket Sheet Entries
             Date       Comment




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       EXHIBIT 4
                     Counsel of Record
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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN OF TEXAS
                                       HOUSTON DIVISION

 KIMA JOHNSON                        §
      Plaintiff,                     §
                                     §
 v.                                  §
                                     §                                       CIVIL ACTION NO. ___
 J.B. HUNT TRANSPORT SERVICES, INC., §                                      JURY TRIAL DEMANDED
 RYDER RENTAL TRUCK AND              §
 JOHN DOE                            §
        Defendants.                  §



                    COUNSEL OF RECORD AND INFORMATION PURSUANT TO
                                 LOCAL RULE CV-81(C)


(1)    A list of all parties in the case, their party type (e.g., plaintiff, defendant, intervenor,
receiver, etc.) and current status of the removed case (pending, dismissed);

        Plaintiff         Kima Johnson

        Defendants        J.B. Hunt Transport Services, Inc.
                          Ryder Truck Rental, Inc.
                          John Doe

        The removed case is currently pending.

(2)     A civil cover sheet and a certified copy of the state court docket sheet; a copy of all
pleadings that assert causes of action (e.g. complaints, amended complaints, supplemental
complaints, counterclaims, cross-actions, third party actions, interventions, etc.); all answers to
such pleadings and a copy of all process and orders served upon the party removing the case to
this court, as required by 28 U.S.C. § 1446(a).

        See attached civil cover sheet and documents attached to Defendant's Notice of Removal
        as Exhibit “A.”

 (3)   A complete list of attorneys involved in the action being removed, including each attorney's
bar number, address, telephone number and party or parties represented by him/her;




_________________________________________________________________________________________________________________
JOHNSON/COUNSEL OF RECORD AND INFORMATION                                                           P A G E |1
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  DASPIT LAW FIRM                                                 MAYER LLP
  Lauren Roberts                                                  Kevin P. Riley
  Texas State Bar No. 24113720                                    State Bar No. 16929100
  440 Louisiana St., Suite 1400                                   Southern Bar No. 13776
  Houston, Texas 77002                                            Email: kriley@mayerllp.com
  Email: e-service@daspitlaw.com                                  Harry L. Laxton Jr.
                                                                  State Bar No. 12061762
  ATTORNEYS FOR PLAINTIFF                                         Southern Bar No. 906711
                                                                  NY Registration No. 5447776
                                                                  Email: hlaxton@mayerllp.com
                                                                  4400 Post Oak Parkway, Suite 1980
                                                                  Houston, Texas 77027
                                                                  713.487.2000/713.487.2019 – fax

                                                                 ATTORNEYS FOR DEFENDANTS
                                                                 J.B. HUNT TRANSPORT SERVICES , INC.
                                                                 AND RYDER TRUCK RENTAL, INC.




(4)    A record of which parties have requested a trial by jury (this information is in addition to
placing the word "jury" at the top of the Notice of Removal immediately below the case number);

        Defendants, J.B. Hunt Transport Services, Inc,. and Ryder Truck Rental, Inc.’s has
        requested a trial by jury.

(5)     The name and address of the court from which the case is being removed.

        129th Harris County District Court
        Judge Michael Gomez
        Harris County Civil Courthouse
        201 Caroline, 10th Floor
        Houston, Texas 77002
        832-927-2500




_________________________________________________________________________________________________________________
JOHNSON/COUNSEL OF RECORD AND INFORMATION                                                           P A G E |2
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